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       Exhibit E
                       Case 1:19-cr-00395-BAH Document 16-5 Filed 03/09/20 Page 2 of 2
id : cpobvew


permalink : https://www.reddit.com/r/DarkNetMarkets/comments/300xzn/generalquestions_bitcoin_tumbling/cpobvew/


date : 2015-03-23 20:35:52 UTC


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subreddit : DarkNetMarkets


gildings : 1


link : https://www.reddit.com/r/DarkNetMarkets/comments/300xzn/generalquestions_bitcoin_tumbling/


parent :


body : ## Preface I own Helix and Helix light bitcoin cleaner(tumbler) **If you buy or sell your bitcoins anonymously such as as on a anonymous localbitcoin account or with someone in person,

There is no reason you would need to tumble because the bitcoins are never linked to you.** ## Taint analysis Bitcoin tumbling breaks the bitcoin taint analysis. What is Taint analysis? It the record

of which wallets have sent bitcoins to and from each other. So if a user send coins from wallet A to wallet B to wallet C to wallet D. Then you look at the taint analysis of wallet D, it will show that

Wallet D is linked to Wallet A by some percent. The higher the percent the more closely the wallets are link and the more likely the owner of wallet A sent or received coins from wallet D. If wallet A
happens to be a coinbase account link to a real identity and wallet D is a darknet market wallet, a tumbler in between those will make it so that wallet A doesn't even show up in the taint analysis of

wallet D. This means there is no way they are linked. ##How do you check the taint? In this example a user buys bitcoins on coinbase send to a tumbler and tells the tumbler to send to a market

address Coinbase(wallet A) -> Tumbler (wallet B) -> Market (wallet C) * Go to blochain.info * Search for the bitcoin address of the wallet you sent the clean coins to (Wallet C) * On that page look

for a link that say "Taint Analysis" * This page has every address coins have been sent to or received to and from this address * Make sure the address you used to send to the tumbler (wallet A)

doesn't apear on this taint page or has a very low taint percentage *You can also get to the taint page with this blockchain.info/taint/{the bitcoins address to check}* ## Do you have to tumble your

coins? Short answer is **YES** I run a tumbler so I am a little biased, but It depends on how much you are sending to or from a market and how much you care about opsec. Here are a few

reasons why you should tumble * Coinbase has shut down account that sent bitcoins to addresses linked to darknet markets * No one has ever been arrested just through bitcoin taint, but it is

possible and do you want to be the first? * If you get a controlled delivery and you deny ordering the package the bitcoin taint will be the evidence they need to prove you ordered it. It is better to be

safe than sorry no matter which tumbler or tumbling method you use. *Again I am biased because I own a tumbler* ## How can they tell which wallets are linked to markets? Most markets use "Hot

Wallets", they put all their fees in these wallets. LE just needs to check the taints on these wallets to find all the addresses a market uses. There is even a site that does it already **walletexplorer

dot com** If you go there you can see all the market addresses they are tracking. ## Can't they just find the tumblers the same way? Yes most tumblers they can. Helix is different and doesn't use a

hot wallet. In fact helix never uses a wallet more than once. So even if they did tag a helix wallet it would never be used again so it wouldn't matter. You can check **walletexplorer dot com** and

see helix and grams is not being tracked. ## Can't tumblers be found by looking for multiple transactions every minute? This is an old method of tumbling which most tumblers don't use anymore. I

can't speak for all of them but Helix has 2 pools of bitcoins, Dirt and Clean. Users send their bitcoins to the dirty pool and receive bitcoins from the clean pool so there is very few transactions. Coins

are never sent from the dirty pool to the clean pool so the clean bitcoins have no link or 0% taint to the dirty ones. ## Is there free methods of tumbling? Yes there are ways to tumble your bitcoins

for free or almost free. One method is creating anonymous account on crypto exchanges and buying another crypto currency(litecoin) and then selling the litecoins for new clean bitcoins. Doing it

this way you will save the 2.5% but use a lot more of your time and might lose money if the price fluctuates during the process. Using a tumbler to tumble your coins is like paying a mechanic to

change your oil. You can change your oil yourself and save some money but you will have to get dirty and it will take a lot of your time. If you use a mechanic you pay more than doing it yourself,

but you know it gets done right and quickly without you having to spend any of your time. You could not change your oil at all (like not tumbling) and might be fine but who wants to risk that.


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